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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOANNE WOLFF, Individually         :
and as Class representative        :
on behalf of others Similarly      :      CIVIL ACTION
Situated,                          :
                                   :      No. 4:19-cv-01596-MWB
     Plaintiff,                    :
                                   :
     v.                            :
                                   :
AETNA LIFE INSURANCE COMPANY       :
and THE RAWLINGS COMPANY, LLC,     :
                                   :
     Defendants                    :
                                   :
:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::


                       BRIEF IN SUPPORT OF
            PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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I. INTRODUCTION

     Plaintiff Wolff was insured under a long-term disability

(LTD) policy issued by Aetna. The LTD policy that provided

disability benefits to Wolff was a standard disability policy

that Aetna used to provide LTD coverage to thousands of insureds.

     Wolff was injured in an accident and received disability

benefits under her Aetna policy. Thereafter, Aetna demanded and

secured reimbursement of the LTD benefits it had paid to Wolff.

However, the standard LTD policy covering Wolff, which also

covered members of the putative class, does not authorize

reimbursement from a personal injury recovery.1 Consequently,

because reimbursement against Wolff is improper under her LTD

policy, it is similarly improper against the putative class.

     As demonstrated herein, Aetna’s subrogation actions against

Wolff were the same as Aetna’s subrogation actions against the

putative class members. Because Aetna engaged in a common course

of conduct, for the reasons stated herein, this matter is

appropriate for class certification.


II. ARGUMENT

     “In determining the propriety of a class action, the

question is not whether the plaintiff or plaintiffs have stated a



     1
      Aetna’s actions also violated 75 Pa.C.S. § 1720. However,
as the number of insureds whose claim is based entirely on a
violation of § 1720 does not appear to be numerous enough for
class certification, Plaintiff does not seek class certification
on her § 1720 claim.
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cause of action or will prevail on the merits, but rather whether

the requirements of Rule 23 are met.” Eisen v. Carlisle &

Jacquelin, 417 U.S. 156, 178 (1974) (citation omitted). The

required examination only asks “whether the requirements of Rule

23 [] are met.” Sullivan v. DB Invs., 667 F.3d 273, 306 (3d Cir.

2001). In conducting this analysis, the court should “resolve

doubts in favor of approving certification.” Allen v. Holiday

Universal, 249 F.R.D. 166, 192 (E.D. Pa. 2008).

     A.   Proposed Class Definition

     As set forth in Plaintiffs’ Motion for Class Certification,

Plaintiffs seek certification of a class defined as:

     All persons who were injured and received long-term
     disability benefits from the defendant as a result of
     an injury causing event and as against whom defendant
     sought or recovered reimbursement of long-term
     disability benefits it had paid to insureds from the
     insureds’ tort recoveries and who suffered harm and
     damages which include, by way of exemplification and
     not in limitation, the loss of use of money, the loss
     of interest on money, the loss of possession of their
     funds; the loss enjoyment of their funds, their losses
     in having to free their funds from defendants’
     encumbrances and payment of money from their tort
     recoveries to the defendant as a result of defendants’
     wrongful reimbursement demands and actions based on
     violation of the policy.

     B.   Plaintiff Satisfies the Requirements of Rule 23(a)

          i.    Defendant’s conduct was common as to the class.

     Rule 23(a)’s commonality requirement involves "consideration

of whether there are 'questions of law or fact common to the

class[.]" Fed. R. Civ. P. 23(a)(2). "A putative class satisfies

Rule 23(a)'s commonality requirement if the named plaintiffs


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share at least one question of fact or law with the grievances of

the prospective class." Id. A single common question is

sufficient. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359

(2011).

     Notably, this matter is an ERISA case. Courts consistently

have found that ERISA claims satisfy the commonality requirement.

See, e.g., Brooks v. Educators Mut. Life Ins. Co., 206 F.R.D. 96,

101 (E.D. Pa. 2002) (“The fact that this case involves a single

claim under ERISA ... also supports a finding that the

commonality prerequisite is satisfied. Unlike a diversity-based

class action, where a court must apply varying state laws for

class members from different states, uniform federal law will

apply to all class members here.”).

     This action is exceedingly well-qualified for class

certification because of the many common issues shared among the

Plaintiffs and putative Class Members. Here, Plaintiff and the

proposed class meet the commonality requirement because:

     (1) all of these questions stem from Defendants' common
     course of conduct directed against the Plaintiffs and
     putative Class Members; and

     (2) uniform federal law will apply to all class members
     here.

     Initially, the overarching common issue between class

members is that the defendant sought and obtained reimbursement

against Wolff’s and putative class members’ personal injury

recoveries based on the same standard policy that did not

authorize reimbursement.

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     Accordingly, the focus of Plaintiff’s claims is squarely

upon the Defendant’s common course of conduct that is the classic

hallmark of class actions certified under Rule 23. See Blackie v.

Barrack, 524 F.2d 891 (9th Cir. 1975); Stanford v. Flomex L.P.,

263 F.R.D. 156, 166 (E.D. Pa. 2009) ("[B]ecause the focus of each

count is squarely on the behavior of the fiduciary defendants,

common questions of law and fact exist as to each count[].").

     Specifically, the common course of conduct involves:

     1.      Plaintiff Wolff was insured under a Long Term
             Disability (LTD) policy issued by Aetna.2 See Smith
             Dec., ¶ 1; Exh. A.

     2.      The LTD policy which provided disability benefits to
             Wolff was a standard disability policy which Aetna used
             to provide LTD coverage to thousands of insureds. See
             Smith Dec., ¶ 2.

     3.      Wolff was injured in a MVA and received disability
             benefits under her Aetna policy.3 See Smith Dec., ¶ 3.

     4.      Wolff made a claim, and secured a personal injury
             recovery against, the underlying tortfeasor. See Smith
             Dec., ¶ 4; Exh. B, pp.31-32.

     5.      Aetna demanded and secured reimbursement of the LTD
             benefits it had paid to Wolff. See Smith Dec., ¶ 5;
             Ex. C, pp.33, 70; see also Id. at Ex. D.

     6.      Aetna demanded reimbursement against Wolff and
             similarly against the other insureds as it did against
             Wolff.

     Aetna continuously and systemically acted against all class

plaintiff insureds by wrongfully demanding reimbursement from the

personal injury recoveries of class plaintiffs who were injured


     2
         SAC at ¶ 6.
     3
         SAC at ¶¶ 7, 9.
                                    4
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and had received LTD benefits from Aetna.4 Defendant admitted

that its reimbursement demand against Wolff’s personal injury

recovery based on that standard policy was part of its common

course to seek reimbursement against Wolff’s and all Class

Members’ personal injury recoveries. For example, Mr. Levak

testified as follows:




     4
         SAC at ¶¶ 43-44.
                                    5
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See Smith Dec., Ex. C, pp.201-203. Mr. Levak further testified:




Id. at p.207. Additionally, Mr. Levak testified:




Id. at 206; see also id. at ln. 23-24 (“Yes; Rawlings applies

consistent standards on payment of those files, yes.”).

     In sum, the defendant’s conduct vis-a-vis Wolff is the same

as defendant’s conduct vis-a-vis the class. Simply, the existence

and nature of Defendant’s conduct is common to Wolff and to all

class members. Consequently, because reimbursement against Wolff

is improper under her LTD policy, it is thus similarly improper

against the putative class members who are insured for LTD


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benefits under the same standard policy.

     Second, uniform federal law, rather than varying state laws,

will apply to all class members across the country. As this Court

already determined, ERISA preempts all state laws insofar as they

relate to an employee benefit plan subject to ERISA. See Dkt No.

40, p. 7-8. Further, as this Court noted in its July 15, 2021,

Memorandum Opinion, Plaintiff’s claim “is based on policy

language, and is thus governed by federal common law.” See Mem.

Op., Dkt. No. 100 at *3.

     Plaintiff here seeks certification on the issue that Aetna

violated the terms of the long-term disability benefit policy by

obtaining reimbursement of long-term disability benefits from

plaintiff and the class members’ personal injury recoveries.

Federal common law, rather than state law, governs both

Plaintiff’s and the putative class members’ claim, providing a

basis for a finding of commonality.

     In sum, Plaintiff’s claims turn on common behavior and

actions and involve the same breach the same standard policy and

defendant’s fiduciary duties to Plaintiff and the putative class.

This Court will apply a uniform body of federal law to adjudicate

these claim for the nationwide class. Accordingly, there exists a

sufficient number of common questions of law and fact that make

this matter appropriate for class certification.


          ii.   Plaintiffs’ claims are typical of the class.

     The Third Circuit has “set a ‘low threshold’ to meet

                                   7
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typicality.” NFL Players Concussion Injury Litig., 821 F.3d 410,

428 (3d Cir. 2016). Rule 23(a)(3) requires that the claims of

representative plaintiffs be "typical of the claims [] of the

class." In evaluating typicality, courts ask "whether the named

plaintiffs' claims are typical, in common-sense terms, of the

class, thus suggesting that the incentives of the plaintiffs are

aligned with those of the class." Baby Neal v. Casey, 43 F.3d 48,

55 (3d Cir. 1994). In that regard, the Third Circuit has noted

that “cases challenging the same unlawful conduct which affects

both the named plaintiffs and the putative class usually satisfy

the typicality requirement irrespective of the varying fact

patterns underlying the individual claims.” Baby Neal, 43 F.3d at

58.

      Here, Plaintiff Wolff’s claims typify those of the putative

Class Members. The record demonstrates that every class member,

including Plaintiff, is subject to the same policy terms and was

subject to the same conduct by Defendant. Wolff's claim and each

class member's claim is based on the same violations of the

policy by the Defendant. In each instance, the defendant sought

reimbursement against Wolff’s and every Class Plaintiffs’

personal injury recovery under the same standard policy that did

not allow reimbursement from a personal injury recovery.

      As the Third Circuit stated in Baby Neal, “cases challenging

the same unlawful conduct which affects both the named plaintiffs

and the putative class usually satisfy the typicality requirement


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irrespective of the varying fact patterns underlying the

individual claims.” Baby Neal, 43 F.3d at 58. Thus, as Wolff’s

and the Class Plaintiffs’ claims are typical in they are

generally the same in terms of legal theory and circumstances

underlying that theory, the typicality requirement is satisfied.


          iii. The adequacy requirement is satisfied.

     of Rule 23 also considers “whether the named plaintiffs'

interests are sufficiently aligned with the absentees’, and []

tests the qualification of the counsel to represent the class.”

In re Community Bank of Northern Virginia, 418 F.3d 277, 203 (3d

Cir. 2005).

     Plaintiff satisfies the adequacy requirement. Plaintiff

understands the claims being asserted and on what basis.

Plaintiff testified:

     23 Q. How are your claims similar to
     24 the other Class Members that are included in
     1 your proposed Class?
     2 A. I think I just answered that.
     3 They were in a motor vehicle accident, they
     4 had Aetna insurance and Aetna subrogated funds
     5 from their settlement.
     6 Q. And what do you understand your
     7 claims to be? What did Aetna do wrong?
     8 A. They took money out of my
     9 settlement that they were not entitled to.
     10 Q. Why? Why they were not
     11 entitled to it?
     12 A. Because it's not in my policy.

Smith Dec., Ex. B, pp. 152-153. Plaintiff also understands her

role as class representative:

     15 Q. What do you understand it means
     16 to be a Class Representative?

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     17 A. It means that I will stand here
     18 and fight for the rights of myself and other
     19 Class Members to get what is owed back to us.
     20 Q. And do you know what the duties
     21 of a Class Representative are?
     22 A. Yes, I just said them, is to
     23 represent the entire Class.
     24 Q. Anything else? Anything
     1 specific?
     2 A. To do the right thing. I mean,
     3 that's representing a Class, doing what I
     4 think is correct and what I think -- I believe
     5 to be correct and right and represent an
     6 entire class of people.
     7 Q. And do you understand that
     8 being a Class Representative means that you
     9 may have to put the interest of the Class
     10 above your own individual interests?
     11 A. Yes. It's not just about me.
     12 It's about everybody at this point.

Id. at 153-154. Further, when asked what she wanted out of this

lawsuit herself, Plaintiff testified:

     3   Q. What do you want out of this
     4   lawsuit for yourself?
     5   A. For myself and for the Class of
     6   people is to get the money back that was taken
     7   from Aetna back.

Id. at 162.

     Here, Plaintiff has clearly demonstrated that she has a

sufficient understanding of what her claim is about and her

duties as class representative. She also testified that she

wanted for the class the same things she wanted for herself,

demonstrating that her interests are aligned with those of the

class. Defendant does not have any basis to dispute her adequacy

as a class representative insofar as her understanding of the

claims and her role as class representative.

     Further, Wolff’s interests are sufficiently aligned with the

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class. Wolff’s interests and those of the Class are completely

complementary and synonymous. Plaintiff and the other Class

members have the same interest in proving Defendant’s liability

for their losses from common legal and factual theories. A

vigorously sought recovery as to Wolff in no way prejudices or

undermines the claims of the class. In fact, the more vigorous

and successful Wolff is with regard to her personal claim, the

more benefit and value will inure to the class members.

     Finally, the Court can also readily find The Law Office of

Charles Kannebecker, and their respective members, adequate. The

firm possesses the capability, persistence, financial ability,

and resolve to prosecute this case to its end. Attorney

Kannebecker actively practices in the state and federal courts of

Pennsylvania, New York, and New Jersey. Attorney Kannebecker is a

member of the Million Dollar Advocates Forum, served on the Board

of Governors for the Pennsylvania Association for Justice, and

has been selected to Super Lawyers from 2017 through the present.

     Accordingly, Plaintiff’s counsel is thus more than adequate

to represent the class.


          iv.   The numerosity requirement is satisfied.

     The “numerosity requirement is satisfied when <the class is

so numerous that joinder of all members is impracticable.’” In re

Modafinil Antitrust Litig., 837 F.3d 238, 249 (3d Cir. 2016)

(quoting Fed. R. Civ. P. 23(a)(1)). The Third Circuit has said

that “generally if the named plaintiff demonstrates that the

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potential number of plaintiffs exceeds 40, the first prong of

Rule 23(a) has been met.” Stewart v. Abraham, 275 F.3d 220,

226–27 (3d Cir. 2001).

     Initially, the size of this class exceeds 40. Aetna sought

reimbursement of long-term disability benefits from 30 people in

Pennsylvania covered by the standard insurance policies

containing identical "Other Income Benefits" terms as Plaintiff's

insurance policy. See Smith Dec., Ex. C, pp.193-194.

     Further, according to discovery produced following this

Court’s July 15, 2021, Order, Aetna additionally sought

reimbursement of long-term disability benefits from at least 23

additional Bank of America Employees outside of Pennsylvania

covered by the same long-term disability insurance policy as

Wolff.

     Accordingly, Plaintiff asserts there are at least 53

putative class members, presumptively satisfying the numerosity

requirement.

     However, there will likely be more class members. At this

juncture, Defendant has not provided full discovery responses to

Plaintiff’s Request for Production. In Plaintiff’s First Document

Request, Plaintiff demanded the following documentation:

     29.   A list of all such participants referenced above
           whom the defendant asserted subrogation, asserted
           a demand for reimbursement of overpayment or
           repayment against their personal injury
           recoveries as of the date of filing the Complaint
           since 2010;

     30.   Copies of all lien and/or repayment demand letters

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           sent to members of the disability plans
           administered by Defendant (including the
           addresses to which they were sent) through the
           date of filing of the Complaint;

     31.   A list of all individuals from whom the defendants
           recovered funds in response to their subrogation,
           repayment and/or reimbursement of overpayment
           demands;

     32.   All documents relative to the allocation, payment,
           reimbursement or transfer of all the money which
           other members of the class paid to Defendant or to
           Rawlings;

     40.   All policies and other documents regarding each
           and every claim where an employee who was injured
           was paid long term disability benefits and where a
           lien, subrogation right, right to reimbursement of
           Overpayment or reimbursement demand was made
           against the personal injury recovery of that
           employee.

     Defendant has provided only a limited response to

Plaintiff’s demand which omitted what will likely be the bulk of

the people from whom defendant obtained reimbursement of

benefits. For example, Defendant has not provided discovery

regarding individuals outside of Pennsylvania covered by the same

standard policy as Wolff as it did for individuals in

Pennsylvania.

     Further, Plaintiff tried to secure the information at

deposition, but Defendant did not answer Plaintiff’s line of

questions.5 Mr. Levak, Aetna’s corporate designee, could not

testify as to the total number of reimbursement claims Aetna

asserted against all of its insureds insured under a long-term


     5
      The efforts Plaintiff’s counsel undertook to secure this
information is set forth in the Smith Declaration, ¶ 6.
                                   13
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disability policy like Joanne Wolff’s nationally. Smith Dec., Ex.

C, pp. 186, 188-92, 194-98.

     To date, Defendant has still not provided the documentation

with regard to all persons who were insured under the subject

standard policy which is a basis for the claim. When Aetna

finally provides the outstanding documentation which includes the

rest of the defendant’s subrogation claims under the subject

policy, those documents should further confirm that the number of

plaintiffs is well above 40.

     In light of Aetna’s incomplete document responses and

lack of information at deposition, in an effort to demonstrate

that even more claims are likely, Plaintiff provides this Court a

logical extrapolation from which to gauge the potential number of

class members which actually exist and would confirmed upon

defendant’s provision of the outstanding document responses.

     Prior to Aetna’s spinning off its long-term disability

insurance business to The Hartford, Aetna collected:

     a) $879 million in long-term disability premiums for 2015;
     b) $957 million in long-term disability premiums for 2016;
     c) $799 million in long-term disability premiums for 2017.6


     Further, discovery demonstrated that Aetna used a standard

form policy for its long-term disability insurance. Given the

scope of the class that Plaintiff seeks to represent, the size of


     6
      See Aetna Form 10-K for the year ended December 31, 2017,
https://www.sec.gov/Archives/edgar/data/0001122304/00011223041800
0027/form10-k.htm
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the class as actually defined by Plaintiff would well exceed 40,

satisfying the numerosity requirement under the Third Circuit’s

analysis. This calculation has two bases.

     First, Aetna sought reimbursement of long-term disability

benefits from 30 people in Pennsylvania covered by insurance

policies containing identical “Other Income Benefits” terms to

Plaintiff’s insurance policy. See Smith Dec., Ex. C, pp.193-194.

In a very general extrapolation, pursuant to U.S. Census Bureau,

Pennsylvania had a population of 12,782,275 in 2016 as against a

United States population of 322,941,311 in 2016.7 Using U.S.

Census data, Pennsylvania’s population was 3.7% of the U.S.

population. As previously stated, testimony from Mr. Levak

demonstrated that Aetna sought and obtained reimbursement from 30

Pennsylvania insureds. Extrapolating generally therefrom, the

total number of insureds nationally from whom Aetna sought and

obtained reimbursement would be approximately 758.

     Second, the number of people Aetna insures for disability

and the approximate subrogation thereon may be extrapolated from

Aetna’s own available data. Aetna collected $68,053,160.00 in

premiums for disability insurance from Bank of America in 2016

See Smith Dec., Ex. E. That same year, Aetna collected

approximately $957,000,000.00 in long-term disability premiums

nationwide. Pursuant to Aetna’s premium information,


     7

https://www.census.gov/data/tables/time-series/demo/popest/2010s-
state-total.html
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approximately 7% of its disability insurance market was accorded

to Bank of America. In a general extrapolation therefrom, as only

7% of its market produced 23 reimbursement claims under just the

Bank of America policy, it can be expected that its reimbursement

activities across all of its long-term disability policies like

Joanne Wolff’s would have affected approximately 342 people,

again satisfying the numerosity requirement.

     Accordingly, based upon the aforementioned estimations, the

numerosity standard is presumptively met.


     C.   The Court Should Certify a Class Under Rule 23(b)(3)

     To gain certification under Rule 23, Plaintiffs must show

“that the questions of law or fact common to class members

predominate over any questions affecting only individual members,

and that a class action is superior to other available methods

for fairly and efficiently adjudicating controversy.” In re

Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 310 (3d Cir.

2008). Plaintiffs meet both of these Rule 23(b)(3) “predominance

and superiority” requirements.

          i.   Issues common to the class predominate over
               individual issues.

     The predominance inquiry “calls upon courts to give careful

scrutiny to the relation between common and individual questions

in a case.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036,

1045 (2016). According to the Supreme Court, an individual

question is one “where members of a proposed class will need to


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present evidence that varies from member to member, while a

common question is one where the same evidence will suffice for

each member to make a prima facie showing that the issue is

susceptible to generalized, class-wide proof.” Id. Where “one or

more of the central issues in the action are common to the class

and can be said to predominate, the action may be considered

proper under Rule 23(b)(3) even though other important matters

will have to be tried separately, such as damages or some

affirmative defenses peculiar to some individual class members.”

Id. Further, courts have found predominance in cases where the

class alleges a common scheme or course of conduct. See In re

Prudential Ins. Co. of Am. Sales Practices Litigation, 148 F.3d

283, 314 (3d Cir. 1998).

     Here, common issues predominate because Plaintiff can

establish her claims through Defendant’s common course of

conduct. As previously demonstrated, there is an overarching

common issue shared between the members of the class that the

defendant secured subrogation based on a standard policy which

did not authorize subrogation. See Part II(B)(i), supra. Thus,

with regard to the central issue in this case, there is a common

proof that defendant sought reimbursement against Plaintiff and

the class in violation of the policy.

     Because Defendant applied the same contract language and

asserted the same rights to reimbursement against Plaintiff and

the putative class, the issue of whether Defendant actually


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possessed that right of reimbursement against the individual

members of the putative class predominates over any

individualized issues that may arise. Specifically, by showing

that Defendants did not possess any right of reimbursement

against Plaintiff under the plain language of the policy,

Plaintiff would not only establish her individual claim, but also

establish the claims of the class via class-wide, generalized

evidence.

     In Huffman v. Prudential Ins. Co. of Am., the Court found

that the plaintiff satisfied the predominance requirement because

“common legal issues of construing [the fiduciary’s] obligations

under the [policies] predominate over any individual issues

specific to particular beneficiaries.” Huffman, No.

2:10-cv-05135, at *11. The same type of predominance exists here:

Plaintiff’s claim and the claims of the putative class involve

the common legal issue of construing Aetna’s obligations under

the same policy that covers each of the putative class members.

Reimbursement from their personal injury recoveries is either

permitted or it is not permitted; the resolution of this issue

for Plaintiff’s claim settles the issue for the entire class.

Since there is convergence in what Wolff and each class plaintiff

must prove to prevail, the predominance of common questions of

law and fact among the members of the Class clearly satisfies the

requirements of Rule 23.

     Accordingly, because common issues predominate over


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individual issues, Plaintiff has satisfied the predominance

requirement.

            ii.   The superiority requirement is met.

      Superior requires that a class action is the best method of

achieving a “fair and efficient adjudication of the controversy.”

Fed. R. Civ. P. 23(b)(3). Several factors are relevant:

      (A) the interest of members of the class in individually
      controlling the prosecution or defense of separate actions;

      (B) the extent and nature of any litigation concerning the
      controversy already commenced by or against members of the
      class;

      (C) the desirability or undesirability of concentrating the
      litigation of the claims in the particular forum;

      (D) the difficulties likely to be encountered in the
      management of a class action.

Id.

      As to the first factor, the amount in controversy of many of

the individual class members demonstrates that members of the

class would be unable to individually prosecute their own

actions. The tremendous costs of discovery and trial mean that

some class members might not otherwise be able to pursue their

claims. See In re Warfarin Sodium Antitrust Litig., 391 F.3d 516,

534 (3d Cir. 2004) ("a class action facilitates spreading of the

litigation costs among the numerous injured parties[]."). For

example, a select number of putative class members below have low

damages:




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     Because of the relatively small amount of these individual

claims, class members would likely have great difficulty in

finding an attorney who would take the case on a contingency fee

basis. The only other alternative would be for putative class

members to find counsel who would take an hourly fee, which would

quickly exceed the value of most of their claims. The class

action is superior in that regard, as it aggregates “the

relatively paltry potential recoveries into something worth

someone’s (usually an attorney’s) labor.” Amchem Products v

Windsor, 521 U.S. 591, 617 (1997).8 Accordingly, denying class

treatment might preclude individuals with smaller claims from

obtaining any relief.

     As to the second factor, there is no evidence that any of

the putative class members have instituted any litigation against

Aetna regarding Aetna’s reimbursement demands. This case has

already seen extensive litigation and this Court has already


     8
      In a related vein, the refusal to certify a class so that
redress for claims could effectively and realistically be pursued
has the potential effect of insulating violations of the law from
liability, effectively granting de facto immunity to the
wrongdoer.
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accorded much of its valuable time and resources to this matter.

     As to the third factor, concentrating the litigation of

claims in this particular forum is desirable. This Court is more

than qualified to adjudicate Plaintiff’s claims. Given that ERISA

provides a uniform body of law for this Court to apply to

Plaintiff’s claims and the claims of the proposed class,

pleadings, discovery, argument, and judgment, will be centrally

managed and addressed efficiently.

     As to the fourth factor, there will not be any difficulties

in managing this action as a class action. In fact, judicial

economy will be served as the class is spread across the country

and certification would foster handling common things in common.

In re Flat Glass Antitrust Litig., 191 F.R.D. 472, 498 (W.D. Pa.

1999). Indeed, the filing of individual actions would be

unnecessarily duplicitous, expensive and time-consuming and risk

inconsistency in everything from evidentiary rulings to final

judgments. If certification is not granted then Defendants would

need to defend against Plaintiffs’ allegations in proceeding

after proceeding. Id.

     Accordingly, for the reasons stated above, all of the

superiority factors weigh in favor of class certification. A

class action is thus superior to other available methods for the

fair and efficient adjudication of the controversy.




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III. CONCLUSION

     For the aforementioned reasons, this Court should grant

Plaintiff’s Motion for Class Certification and appoint Charles

Kannebecker, Esq. and The Law Office of Charles Kannebecker as

class counsel.

                           Respectfully Submitted,

                           THE LAW OFFICE OF CHARLES KANNEBECKER



                                      /s/
                           Charles Kannebecker, Esq.
